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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


CAC MARITIME, LTD., et al.,                   :
                                              :
                        Plaintiffs,           :
                                              :
                v.                            :       Civil Action No. 21-202-RGA
                                              :
M/V OCEAN FORCE, IMO 8215613,                 :
et al.,                                       :
                                              :
                        Defendants.           :



                      ORDER APPROVING INTERLOCUTORY SALE
                       OF THE M/V OCEAN FORCE AND CARGO
                              AND CONFIRMING SALE

         For the reasons stated in open court, 1 the sale of the M/V Ocean Force and Cargo to

Alexander Navigation, Inc., Majuro, Marshall Islands, for $500,000 is CONFIRMED. The

United States Marshal shall deliver to Alexander Navigation, Inc., Majuro, Marshall Islands a

bill of sale for the M/V Ocean Force and Cargo, free and clear of prior liens and claims, which

shall attach to the proceeds of the sale.

         SO ORDERED this 1st day of March 2022.


                                                        /s/ Richard G. Andrews
                                                      ______________________________
                                                      United States District Judge




1
    CAC’s motion (D.I. 104) is GRANTED.
